     Case: 3:21-cr-50008 Document #: 15 Filed: 06/27/21 Page 1 of 13 PageID #:98




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )   No. 21 CR 50008 - 1
                                                 )   Judge Iain D. Johnston
SCOTT KOTESKI                                    )

                     DEFENDANT’S SENTENCING MEMORANDUM

       NOW COMES Defendant, Scott Koteski, by and through counsel, Brendan W. Caver,

pursuant to Rule 32 of the Federal Rules of Criminal Procedure and 18 U.S.C. Section 3553(a),

states as follows:

       I.       PRE-SENTENCE INVESTIGATION REPORT

       Undersigned counsel has personally reviewed the Presentence Investigation Report

(PSIR) with Mr. Koteski. The defense makes no requests to amend the PSIR.

       II.     PLEA AGREEMENT

       As the court is aware, Mr. Koteski has entered into a plea agreement. The court has

accepted the agreement, and should sentence Mr. Koteski to a minimal term of incarceration.

       III.    SENTENCING CONSIDERATIONS

       As this court is well aware, the sentencing guideline range is no longer binding on the

Court, but is only one factor to be considered in determining the sentence. Booker, 125 S. Ct. at

764-65. The 18 U.S.C. 3553(a) parsimony provision provides that court shall impose a sentence

sufficient, but not greater than necessary, to carry out the proper purposes of sentencing. The

purposes of sentencing include the need to reflect the seriousness of the offense, to promote

respect for the law, provide just punishment, to create adequate deterrence, to protect the public

from future crimes of the defendant and to provide the defendant with necessary treatment and

training. 18 U.S.C. 3553(a)(2), Booker 543 U.S. at 260. Other relevant section 3553(a) factors
    Case: 3:21-cr-50008 Document #: 15 Filed: 06/27/21 Page 2 of 13 PageID #:99




include the nature and circumstances of the offense and the history and characteristics of the

Defendant and the kinds of sentence available.

       In Gall v. United States, 128 S. Ct. 586 (2007) the Supreme Court gave this Honorable

Court direction and authority to consider mitigating factors that were discouraged or prohibited

previously under the Guidelines. The court should consider the arguments of the parties as to the

proper sentence in the particular case weighing the applicability of the §3553(a) factors. Gall,

128 S. Ct. 586. The court should evaluate each case on its own merits, considering every person

convicted as his own individual and each case as a unique study the human condition that

sometimes mitigate (and sometimes magnify) the crime and consequent punishment. Id. at 598.

The court must then delineate its reasons for the record. Id. The court’s reasons for deviation

from the guideline range should be rooted either in the nature and circumstances of the offense or

the characteristics of the offender, and should be sufficient--but not greater than necessary--to

comply with the aims of §3553(a). This decision allows the sentencing court to apply the facts of

the case with the circumstances of the Defendant’s life and fashion a sentence that comports

more with justice than with mere arithmetic calculations.

       A.      The Kinds of Sentences Available

       This honorable Court has discretion to sentence the Defendant to a minimal sentence of

incarceration, even below the guideline range. For the reasons discussed below, the defendant

respectfully prays that such a sentence should be imposed.

       In U.S. v. Jones, 460 F.3d 191 (2nd Cir. 2006) the district court properly imposed a non-

guideline sentence of 15 months when he considered his own sense of was fair and just where

the defendant was convicted of being a felon in possession of a firearm and possession of

firearm. As the court stated: “Although the sentencing judge is obliged to consider all of the

sentencing factors outlined in section 3553(a), the judge is not prohibited from including in that
    Case: 3:21-cr-50008 Document #: 15 Filed: 06/27/21 Page 3 of 13 PageID #:100




consideration the judge's own sense of what is a fair and just sentence under all the

circumstances. That is the historic role of sentencing judges, and it may continue to be exercised,

subject to the reviewing court's ultimate authority to reject any sentence that exceeds the bounds

of reasonableness.” Id.

       C.      Sentence Recommendation

       As discussed above, Booker and 18 U.S.C. §3553(a) factors indicate that no matter what

is recommended under the sentencing guidelines: the sentence must be sufficient, but not greater

than necessary to achieve the purposes of punishment. Here, it is respectfully submitted that a

minimal sentence of incarceration followed by an appropriate period of supervised release is

sufficient to achieve the goals of punishment. Justice would be served by such a proposed

sentence.

       Defendant recognizes that the seriousness of his offense and the resulting harm warrants

imprisonment; he acknowledges this and this is objectively realistic. Likewise, the proposed

sentence achieves the goals of deterrence, incapacitation, and rehabilitation. Defendant does not

pose a high risk to recidivate, having no criminal history. General deterrence is well-served by a

minimal sentence of incarceration and the resulting restrictions on the Defendant’s freedom.

Finally, Defendant’s need for rehabilitation, treatment and training can be met by a minimal

sentence of incarceration. The defendant has plead guilty, cooperated with the government, and

has thereby demonstrated respect for the law. Mr. Koteski is genuinely remorseful for his

conduct and has acknowledged the harm he has caused to the community. To the extent that

restitution will be paid, a term of incarceration makes it more difficult for the Defendant to be

gainfully employed for the remainder of his working years.

       In determining the minimally sufficient sentence, the Court must essentially ask whether

a more severe sentence would achieve greater justice, deterrence, incapacitation, or
    Case: 3:21-cr-50008 Document #: 15 Filed: 06/27/21 Page 4 of 13 PageID #:101




rehabilitation. Respectfully, it would not in this case. The Court has great discretion in

sentencing post-Booker. In this case the Court can, for reasons expressed in this memorandum,

assure that the sentencing process was a reasoned one and sentence the Defendant to a term of

minimal sentence of incarceration. See United States v. Carter, 538 F.3d 784 (7th Cir 2008).

       Mr. Koteski respectfully requests this Honorable Court sentence him to minimal sentence

of incarceration, along with any specific conditions this Court deems appropriate as any such

sentence will be significant for Mr. Koteski.

                                                            Respectfully Submitted,
                                                    By:    /s/ Brendan W. Caver
                                                           on behalf of Defendant

                                CERTIFICATE OF SERVICE

        The undersigned counsel certifies that he served the above and foregoing document upon
all parties entitled to notice thereof by use of this Court’s Electronic Case Management system
on the 27th day of June, 2021.
                                                              /s/ Brendan W. Caver
                                                              Brendan W. Caver




Brendan W. Caver
Law Office of Brendan W. Caver, Ltd.
308 West State Street #321
Rockford, Illinois 61101
(815) 714-9508
Brendan@CaverLawOffice.com
Case: 3:21-cr-50008 Document #: 15 Filed: 06/27/21 Page 5 of 13 PageID #:102
Case: 3:21-cr-50008 Document #: 15 Filed: 06/27/21 Page 6 of 13 PageID #:103
Case: 3:21-cr-50008 Document #: 15 Filed: 06/27/21 Page 7 of 13 PageID #:104
Case: 3:21-cr-50008 Document #: 15 Filed: 06/27/21 Page 8 of 13 PageID #:105
Case: 3:21-cr-50008 Document #: 15 Filed: 06/27/21 Page 9 of 13 PageID #:106
Case: 3:21-cr-50008 Document #: 15 Filed: 06/27/21 Page 10 of 13 PageID #:107
Case: 3:21-cr-50008 Document #: 15 Filed: 06/27/21 Page 11 of 13 PageID #:108
Case: 3:21-cr-50008 Document #: 15 Filed: 06/27/21 Page 12 of 13 PageID #:109
Case: 3:21-cr-50008 Document #: 15 Filed: 06/27/21 Page 13 of 13 PageID #:110
